Case 4:12-cv-04075-KES Document 65-12 Filed 01/09/15 Page 1 of 2 PagelD #: 1881

EXHIBIT L
 

Case 4:12-cv-04075-KES Document 65-12 Filed 01/09/15 Page 2 of 2 PagelD #: 1882

United Fire

 

Performance Targets

 

 

Tier Position Corporate ROE Corp/Branch LR Dept. Expense
AAAA CEO 75.0% 25.0%* “
AAA VP/Reg Pres 60.0% 20.0% *20,0%
AA AVP/Mer/Supy 40.0% 30.0% a Igoox 0%
A All Others 30,0% 35.0%
“hu ty ‘
i iy
* Revenue Growth a \ tay ,
4.4 When multiple performance measures are annie, heh tay, pe Weighted based on the
desired focus for each goal. ail i” "ye

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aM My th
Pe

5.1 Target Awards are established base \ paltjcipant’s level, and a participant’s Target
Award is calculated as a per centag iy/he Base salary. Earned Awards may range
from 0% to 120% of the "eng | Wjaree \Awards are as follows:

a (h y Mn if!
etl, . Target %
40.0%

lias, A, 25.0%
co . ; F ale/suov 17.5%
All Others 10.0%

5.0 TARGET AWARDS

At

 

sng
6.0 DE ie OF CALCULATED AND EARNED AWARDS

fs lated aac reflect a combination of Corporate, Branch and Department
per Mpte that are indicative of each participant's performance and contribution.

My. zal performance Component (Corporate, Branch and Department) will stand alone when

Iawytd uating performance. Therefore, cach Component must meet or exceed the established
Threshold (minimum) performance level in order for Awards to be paid for that
Component of the Plan.

6.3 For determining the level of financial performance when two or more performance indices
are used, a formula will be utilized to determine the overall performance.

6.4 Each participant's Calculated Award will be based on the level of performance achieved
against assigned performance measures,

Page 3

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